       Case 4:04-cv-00335-MP-AK Document 26 Filed 05/16/05 Page 1 of 2


                                                                                   Page 1 of 2


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                TALLAHASSEE DIVISION



DANNY GONZALES,

       Plaintiff,

vs.                                                     CASE NO. 4:04cv335-MMP-AK

MARK THOMPSON, et al,

       Defendants.

                                   /


                                        ORDER

       Plaintiff, an inmate proceeding pro se, has filed a fifth amended complaint. (Doc.

23). The pleading has been reviewed as is required by 28 U.S.C. § 1915A and is

deemed sufficient to alert Defendants to the nature and basis of Plaintiff's claims. It

cannot be said upon this review of the amended complaint that Plaintiff has failed to

state a claim upon which relief may be granted. Thus, service of the amended

complaint should be directed.

       At this point, Plaintiff must submit service copies of the amended complaint.

Under Fed. R. Civ. P. 4(c)(1), a copy of the fifth amended complaint for each named

Defendant is necessary to effect service and must be submitted by Plaintiff. As Plaintiff
         Case 4:04-cv-00335-MP-AK Document 26 Filed 05/16/05 Page 2 of 2


                                                                                     Page 2 of 2


has named four (4) Defendants in this action, Plaintiff must provide the Court with four

additional copies of the fifth amended complaint that are identical to the fifth amended

complaint, doc. 23, filed with the Court.

        Accordingly, it is

        ORDERED:

        1. Plaintiff shall have until June 13, 2005, to provide the Court with four (4)

identical copies of his fifth amended complaint for service on the Defendants.

        2. Failure to submit the service copies as directed will result in a

recommendation of the dismissal of this action.

        DONE AND ORDERED this 16th day of May, 2005.




                                            s/ A. KORNBLUM
                                            ALLAN KORNBLUM
                                            UNITED STATES MAGISTRATE JUDGE




Case No.4:04cv335-mmp/ak
